       Case 2:11-cr-00427-TLN Document 144 Filed 10/16/13 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW M. SCOBLE, #237432
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, CA 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ANGELA SHAVLOVSKY
7
                                  IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                       )   Case No. 11-cr-427 LKK
                                                     )
11                            Plaintiff,             )   STIPULATION AND ORDER TO CONTINUE
                                                     )   STATUS CONFERENCE AND EXCLUDE
12           v.                                      )   TIME
                                                     )
13   VALERI MYSIN, et al.,                           )   Date: December 17, 2013
                                                     )   Time: 9:15 a.m.
14                            Defendants.            )   Judge: Honorable Lawrence K. Karlton
                                                     )
15
16
              It is hereby stipulated and agreed to between the United States of America through, LEE
17
     BICKLEY, Assistant U.S. Attorney, defendant, ANGELA SHAVLOVSKY by and through her
18
     counsel, MATTHEW M. SCOBLE, Assistant Federal Defender, JOHN DUREE JR., attorney for
19
     VALERI MYSIN, DINA SANTOS, attorney for MICHAEL KENNEDY, JOSEPH WISEMAN,
20
     attorney for ALEXANDER KOKHANETS, JULIA YOUNG, attorney for BORIS MURZAK,
21
     and attorney for ZINAIDA MURZAK, and JOHN BALAZS, attorney for VITALIY TUZMAN,
22
     that the status conference set for Wednesday, October 16, 2013, be continued to Tuesday,
23   December 17, 2013, at 9:15 a.m.
24                       The reason for this continuance is to allow defense counsel additional time to
25   review discovery with the defendants, to examine possible defenses and to continue investigating
26   the facts of the case.
27                       The parties agree that the requested continuance is necessary to provide defense
28   counsel reasonable time necessary for effective preparation, taking into account the exercise of

       Stipulation & Order                               -1-                      US v. Mysin, et al., 11-cr-427 LKK
      Case 2:11-cr-00427-TLN Document 144 Filed 10/16/13 Page 2 of 3


1    due diligence. The parties agree that the ends of justice to be served by a continuance outweigh
2    the best interests of the public and the defendants in a speedy trial, and they ask the Court to
3    exclude time within which the trial of this matter must be commenced under the Speedy Trial

4    Act from the date of this stipulation, October 11, 2013, through December 17, 2013, pursuant to

5    18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4, pertaining to reasonable time for

6    defense preparation.

7    DATED: October 11, 2013                     HEATHER E. WILLIAMS
                                                 Federal Defender
8
9
                                                 /s/ Matthew M. Scoble
10                                               MATTHEW M. SCOBLE
                                                 Assistant Federal Defender
11                                               Attorney for JAVIER DIMAS-ALCANTARA
12
                                                 /s/ Matthew M. Scoble for
13                                               JOHN DUREE JR.
                                                 Attorney for VALERI MYSIN
14
                                                 s/ Matthew M. Scoble for
15
                                                 JOSEPH WISEMAN
16                                               Attorney for ALEXANDER KOKHANETS

17                                               /s/ Matthew M. Scoble for
                                                 DINA SANTOS
18                                               Attorney for MICHAEL KENNEDY
19
                                                 /s/ Matthew M. Scoble for
20                                               JULIA YOUNG
                                                 Attorney for BORIS MURZAK
21
                                                 /s/ Matthew M. Scoble for
22                                               JULIA YOUNG
23                                               Attorney for ZINAIDA MURZAK

24                                               /s/ Matthew M. Scoble for
                                                 JOHN BALAZS
25                                               Attorney for VITALIY TUZMAN
26
27
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      Stipulation & Order                          -2-                       US v. Mysin, et al., 11-cr-427 LKK
       Case 2:11-cr-00427-TLN Document 144 Filed 10/16/13 Page 3 of 3


1    Dated: October 11, 2013                       BENJAMIN B. WAGNER
                                                   United States Attorney
2
3
                                                   /s/ Matthew M. Scoble for
4                                                  LEE BICKLEY
                                                   Assistant U.S. Attorney
5
                                                  ORDER
6
7             The Court having received, read, and considered the stipulation of the parties and good

8    cause appearing therefrom, the Court adopts the parties' stipulation as its order in its entirety. It

9    is ordered that the status conference presently set for October 16, 2013, be continued to

10   December 17, 2013, at 9:15 a.m. The Court hereby finds that the requested continuance is

11   necessary to provide defense counsel reasonable time necessary for effective preparation, taking

12   into account the exercise of due diligence. The Court finds the ends of justice to be served by

13   granting a continuance outweigh the best interests of the public and the defendants in a speedy

14   trial.

15            It is ordered that time from the date of the parties’ stipulation, October 11, 2013, up to

16   and including, the December 17, 2013, status conference shall be excluded from computation of

17   time within which the trial of this matter must be commenced under the Speedy Trial Act

18   pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense counsel

19   reasonable time to prepare).

20   IT IS SO ORDERED.

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     Dated: October 15, 2013
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       Stipulation & Order                            -3-                        US v. Mysin, et al., 11-cr-427 LKK
